          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR101


UNITED STATES OF AMERICA                   )
                                           )
                                           )
            VS.                            )           ORDER
                                           )
                                           )
ALLEN VAN BRITT                            )
                                           )


      THIS MATTER is before the Court on the Defendant’s appeal of the

Order of Detention entered by the Magistrate Judge.

      The Defendant and five co-Defendants have been charged in a one

count bill of indictment of conspiracy to possess with intent to distribute at

least 500 grams of methamphetamine. If convicted, the Defendant faces a

maximum punishment of not less than 10 years or more than life

imprisonment and a $4 million fine, or both. His trial is scheduled to begin

January 7, 2008.

      The Defendant’s appeal from the Magistrate Judge’s order of

detention does not state any grounds for the relief sought and, as a result,

the appeal is summarily denied.




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     IT IS, THEREFORE, ORDERED that the Defendant’s appeal is

DENIED, and the Magistrate Judge’s order of detention is AFFIRMED.



                                   Signed: November 26, 2007




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